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  December 10, 2018

  By Electronic Case Filing (ECF)

  The Honorable Arlene R. Lindsay
  United States District Court, Eastern District of New York
  814 Federal Plaza
  Central Islip, New York 11722

  Re:              MHANY Mgmt. Inc. et al. v. County of Nassau et al., No. 05-cv-2301 (ADS) (ARL)

  Dear Judge Lindsay:

          We are in receipt of the Court’s Order (ECF No. 611) (the “Order”) resolving Plaintiffs’
  motions for attorneys’ fees and costs. We appreciate the Court’s thorough review of the parties’
  submissions. However, our initial review of the Order suggests that the Court may have made a
  few minor errors in its calculations and unintentionally awarded Plaintiffs slightly more in fees
  and costs than the Court intended. We are attaching an exhibit (Exhibit A hereto) which
  identifies the errors that we have identified, and explains the error with citations to the relevant
  pages of the motions papers and the Order. Based on our review, it appears that: (1) Plaintiffs
  were awarded $66.50 more in fees than the Court intended; and (2) the Court inadvertently
  double-counted one items of costs, resulting in an award of costs that is $17,785.88 more than
  the Court intended. As a result, to correct these errors, we believe the Court’s award for fees and
  costs together should be reduced by a total of $17,852.38.

          If the Court agrees with our observations, Plaintiffs respectfully request that the Court
  enter a revised order awarding Plaintiffs $5,255,098.97 in fees and costs (i.e., the current final
  award of $5,272,951.35, less the $17,852.38 figure mentioned above). We thank the Court for
  its consideration.

  Respectfully submitted,

  /s/ Stanley J. Brown /

  Stanley J. Brown

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  cc: All counsel of record (via ECF)
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                                                           Exhibit A

                                                              Fees
Timekeeper       Hours Requested                               Hours Awarded      Other issues        Net Effect on Fee Award
                 220.25                                        222.25
Mobassaleh                                                                                            $600 too high
                 (2014 Fleming Decl. at 6 - ECF No. 464)       (Order at 23)
                 268.75
                 (2014 Fleming Decl. at 7 - ECF No. 464)       465.75
Reed             + 197.40                                      (Order at 24)                          $120 too low
                 (2018 Fleming Decl. at 5 - ECF No. 593)
                  = 466.15
                                                                                  Discrepancy in
                                                                                  math: 53.4
                                                                                  hours x $325/hr
Silverstein                                                                       = $17,355.00, $130 too low
                                                                                  not $17,225 as
                                                                                  awarded.
                                                                                  (Order at 28)
                 394.4
                 (2014 Fleming Decl. at 8 - ECF No. 464)
                 + 89.70
                 (2018 Brewington Decl. at 5 - ECF No. 585) 453.60
Brewington                                                                                            $283.50 too low
                 -29.87                                     (Order at 29)
                 (time spent on County)
                 (Order at 29)
                  = 454.23
                                                                                  Fees Subtotal: $66.50 too high

                                                               Costs
Cost Type      Issue                                                                                  Net Effect on Cost Award
               Court appears to have double-counted mediation fees.
Mediation fees                                                                                        $11,785.88 too high
               (Order at 52)
               Plaintiffs’ initial request for $28,826.26 contained a typo; the backup only
               supported a request for $22,826.26.
Research costs                                                                                        $6,000 too high.
               (2014 Memorandum in Support of Motion at 19 - ECF No. 439; 2014 Brown Decl.
               at 21 - ECF. No. 440)
                                                                                    Costs Subtotal:   $17,785.88 too high

                                                                                  Total Effect on
                                                                                                  $17,852.38 too high
                                                                                  Award:
